Appellate Case: 12-7064     Document: 01019006579             Date Filed: 02/22/2013    Page: 1
                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Elisabeth A. Shumaker                                                         Douglas E. Cressler
  Clerk of Court                       February 22, 2013                        Chief Deputy Clerk




  Mr. William Bruce Guthrie
  United States District Court for the Eastern District of Oklahoma
  Office of the Clerk
  100 North 5th Street
  P.O. Box 607
  Muskogee, OK 74401

  RE:       12-7064, United States v. Dority
            Dist/Ag docket: 6:99-CR-00009-HS-1

  Dear Clerk:

  Please be advised that the mandate for this case has issued today. Please file accordingly
  in the records of your court.

  Please contact this office if you have questions.

                                                Sincerely,



                                                Elisabeth A. Shumaker
                                                Clerk of the Court



  cc:       Ricky Leon Dority
            Linda A. Epperley
            Douglas A. Horn



  EAS/klp
